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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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  Portal Instruments, Inc.,
                                                                  :
                                                                  :
                                             Plaintiff(s),        :   22   Civ. 9156    (LGS)
                                                                  :
                           -against-                              :           ORDER
                                                                  :
  LEO Pharma A/S,                                                 :
                                                                  :
                                             Defendant(s),        :
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 LORNA G. SCHOFIELD, District Judge:
         This case has been assigned to me for all purposes. It is hereby ORDERED that a
 telephonic conference will be held on January 4, 2023         at 4:10 p.m.
                                                                         . T The parties shall call
 (888) 363-4749 and enter the access code 558-3333. The telephonic conference is public, and
 the time of the conference is approximate, but the parties shall be ready to proceed by that time.
 All pretrial conferences must be attended by the attorney who will serve as principal trial
 counsel. The parties shall ensure they are all dialed into the conference call by the appointed
 conference time.

        All parties are required to register promptly as filing users on ECF. Counsel are further
 required to review and comply with the Court’s Individual Rules and Procedures (“Individual
 Rules”) (available at the Court’s website, http://nysd.uscourts.gov/judge/Schofield).

          Counsel are directed to confer with each other prior to the conference regarding
 settlement and each of the other subjects to be considered at a Fed. R. Civ. P. 16 conference.
 Additionally, in accordance with the Court’s Individual Rules, the parties are hereby ORDERED
 to prepare a joint Proposed Civil Case Management Plan and Scheduling Order in the form
 available at the Court’s website (http://nysd.uscourts.gov/judge/Schofield) and append it to their
 joint letter described below. The parties must propose dates for the various deadlines even if
 they intend to request a stay of discovery.

        IT IS FURTHER ORDERED that the parties shall file a joint letter on ECF
 by December 28, 2022      at noon, not to exceed five (5) pages, providing the following
 information in separate paragraphs:
    (1)      A brief statement of the nature of the case, the principal claims and defenses, and the
             major legal and factual issues that are most important to resolving the case, whether
             by trial, settlement or dispositive motion;

    (2)      A brief statement by plaintiff as to the basis of subject matter jurisdiction and venue,
             and a brief statement by each other party as to the presence or absence of subject
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          matter jurisdiction and venue. Statements shall include citations to relevant statutes;

   (3)    In addition, in cases for which subject matter jurisdiction is founded on diversity of
          citizenship, the parties shall explain the factual basis for such jurisdiction, including (i)
          in the case of a corporation, the principal place of business and place of incorporation,
          (ii) in the case of a partnership, limited liability company or trust, the citizenship of
          each of the entity's members, shareholders, partners and/or trustees. If this information
          is lengthy, it may be included in an Appendix to the letter, not to be included in the
          page limit;

   (4)    A brief description of any (i) motions that any party seeks or intends to file, including
          the principal legal and other grounds in support of and opposition to the motion, (ii)
          pending motions and (iii) other applications that are expected to be made at the status
          conference;

   (5)    A brief description of any discovery that has already taken place, and any discovery
          that is likely to be admissible under the Federal Rules of Evidence and material to
          proof of claims and defenses raised in the pleadings. (This is narrower than the general
          scope of discovery stated in Rule 26(b)(1));

   (6)    A computation of each category of damages claimed, see Fed. R. Civ. P.
          26(a)(1)(A)(iii);

   (7)    A statement describing the status of any settlement discussions and whether the parties
          would like a settlement conference; and

   (8)    Any other information that the parties believe may assist this Court in resolving the
          action.

        If this case has been settled or otherwise terminated, counsel are not required to appear,
provided that a stipulation of discontinuance, voluntary dismissal, or other proof of termination is
sent prior to the date of the conference via email to the Orders and Judgment Clerk at the
following email address: orders_and_judgments@nysd.uscourts.gov.

       Any request for an extension or adjournment shall be made only by letter as provided in
Individual Rule I.B.2 and must be received at least forty-eight (48) hours before the deadline or
conference. Unless counsel are notified that the conference has been adjourned, it will be held as
scheduled.

        Counsel who have noticed an appearance as of the issuance of this order are directed
(i) to notify all other parties’ attorneys in this action by serving upon each of them a copy of
this order and the Court’s Individual Rules forthwith, and (ii) to file proof of such notice
with the Court. If unaware of the identity of counsel for any of the parties, counsel receiving
this order must send a copy of this order and Individual Rules to that party personally.



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     DATE AND TIME OF TELEPHONIC CONFERENCE: January 4, 2023            at 4:10 p.m.
     IPTC MATERIALS DUE: December 28, 2022 at noon.


Dated: November 16, 2022
       New York, New York




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